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                      UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF TEXAS
                            TEXARKANA DIVISION


IN RE: MIKE and SONDRA AHLERS                            CASE NO. 07-50039
       DEBTORS                                               CHAPTER 13

              DEBTORS’ MOTION TO DISMISS CHAPTER 13 CASE

  NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
RESPONSE IS FILED WITH CLERK OF THE UNITED STATES BANKRUPTCY
COURT AND SERVED UPON THE PARTY FILING THIS PLEADING WITHIN
FOURTEEN (14) DAYS FROM THE DATE OF SERVICE UNLESS THE COURT
SHORTENS OR EXTENDS THE TIME FOR FILING SUCH REQUESTS FOR
HEARING. THE COURT WILL THEREAFTER SET A HEARING. IF NO RESPONSE
IS TIMELY SERVED AND FILED, THIS PLEADING SHALL BE DEEMED
UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING THE RELIEF
SOUGHT. THE COURT RESERVES THE RIGHT TO SET A HEARING ON ANY
MATTER.

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW the Debtors by and through their attorney, Rodney McDaniel, and for
their MOTION TO DISMISS CHAPTER 13 CASE would show the Court as follows:

       1. After filing, the Debtors have determined that it would be in their best interests
to dismiss their Chapter 13 case. Mr Ahlers has lost his employment and Debtors are not
able to stay current on plan payments.

      2. The Debtors would show the Court that they are entitled, under the U.S.
Bankruptcy Code Sect.1307, to dismiss this Chapter 13 case. This case has not been
previously converted from another Chapter.

      3. The Debtors would show the Court that no Creditor will be prejudiced by this
dismissal.


       WHEREFORE, the Debtors, respectfully move that this case be dismissed.


       Dated: 9/29/20
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                                               Respectfully submitted,


                                                       /s/ Rodney McDaniel
                                                      Rodney McDaniel
                                                      Texas Bar No. 13522500
                                                      Arkansas Bar No. 75089
                                                      4503 Texas Blvd., Suite C
                                                      Texarkana, TX 75503
                                                      (870)772-7711
                                                      Fax (870)772-2531


                                 Certificate of Service

       I, Rodney McDaniel, hereby certify that a true and correct copy of the above
mentioned Motion To Dismiss has been served on the Chapter 13 Trustee by electronic
noticing, and all interested creditors on the attached mailing matrix by US Mail or by
electronic mail on this 29th day of Sept. 2020m.


                                                             /s/ Rodney McDaniel
                                                             Rodney McDaniel
